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                               REDACTED PURSUANT TO COURT ORDER

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 Value Recovery Master Fund, L.P., and
 Turnpike Limited

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------- X
                                                            :
 In re:                                                     : Chapter 15
                                                            :
 OAS S.A., et al.,1                                         : Case No. 15-10937 (SMB)
                                                            :
          Alleged Debtors in Foreign Proceedings. : Jointly Administered
                                                            :
 ---------------------------------------------------------- X

                                 OBJECTION OF ALDEN AND AURELIUS
                                   TO PETITION FOR RECOGNITION




 1
            The Debtors in these chapter 15 cases, along with the last four digits of each debtor’s tax identification or
            corporate registry number, are: OAS S.A. (01-05), Construtora OAS S.A. (01-08), OAS Investments
            GmbH (4557), and OAS Finance Limited (6299).



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            Aurelius Capital Management, LP on behalf of entities it manages (collectively,

 “Aurelius”) and Alden Global Capital LLC on behalf of entities it manages (collectively,

 “Alden”), as holders or managers of entities that hold beneficial interests in certain 8.00% Senior

 Notes due 2021 issued by OAS Finance Limited and guaranteed by OAS S.A., OAS

 Investimentos S.A. and Construtora OAS S.A. (the “2021 Notes”), and/or certain 8.25% Senior

 Notes due 2019 issued by OAS Investments GmbH and guaranteed by OAS S.A., OAS

 Investimentos S.A. and Construtora OAS S.A. (the “2019 Notes”), and/or certain 8.875%

 Perpetual Notes issued by OAS Finance Limited and guaranteed by OAS S.A., OAS

 Investimentos S.A. and Construtora OAS S.A. (the “Perpetual Notes,” and together with the

 2019 Notes and the 2021 Notes, the “Notes,” and the holders of Notes, the “Noteholders”),2

 hereby file this objection (the “Objection”) to the relief requested pursuant to the Forms of

 Petition [Docket No. 1] (the “Forms of Petition”) and the Verified Petition [Docket No. 3] (the

 “Verified Petition,” and together with the Forms of Petition, the “Recognition Petitions”) filed by

 Renato Fermiano Tavares (the “Purported Foreign Representative”) as purported foreign

 representative for the above-captioned debtors in a foreign proceeding (the “Debtors”). In

 support of the Objection, Alden and Aurelius respectfully state as follows:

                                        PRELIMINARY STATEMENT

            The Court should deny the Debtors’ request for recognition of the Brazilian Bankruptcy

 Proceedings because the Debtors have not met the threshold requirements for recognition. First,

 the Debtors have not shown that the Purported Foreign Representative is authorized in the



 2
            Alden and Aurelius hold, in the aggregate, $319,266,000.00 in principal amount of Notes. Other than the
            holdings of Notes listed in the immediately preceding sentence, and certain asserted and unasserted causes
            of action related thereto, Alden and Aurelius hold no other claims or interests in OAS S.A. (“OAS,” and
            together with all of its direct and indirect subsidiaries, the “OAS Group”) or any of its subsidiaries,
            including subsidiaries that have not filed chapter 15 petitions with this Court.



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 foreign proceeding to administer the reorganization or liquidation of the Debtors’ assets or

 affairs. Accordingly, the Purported Foreign Representative does not meet the Bankruptcy

 Code’s definition of “foreign representative” and had no authority to apply to this Court for

 recognition of the Brazilian Bankruptcy Proceedings. Second, with respect to OAS Finance

 Limited, a British Virgin Islands (“BVI”) company (“OAS Finance BVI”) and OAS Investments

 GmbH, an Austrian company (“OAS Investments,” and together with OAS Finance BVI, the

 “Non-Brazilian Debtors”), the Debtors have not shown that those entities have their “centers of

 main interest” (“COMI”) or an “establishment” in Brazil within the meaning of the Bankruptcy

 Code. Thus, the Brazilian Bankruptcy Proceedings for the Non-Brazilian Debtors cannot be

 recognized as either foreign main or foreign nonmain proceedings. Finally, due to the Debtors’

 bad faith and the lack of due process protections in Brazil, recognition of the Brazilian

 Bankruptcy Proceedings would be manifestly contrary to U.S. public policy. Thus, the Court

 should apply the public policy exception of section 1506 of the Bankruptcy Code to deny

 recognition.

        The Debtors’ request for recognition of the Purported Foreign Representative as the

 “foreign representative” within the meaning of sections 101(24) of the Bankruptcy Code is

 defective. It is undisputed that the Purported Foreign Representative was not appointed by the

 foreign court to act as a representative of the foreign proceeding in the U.S. Further, he is not

 authorized in a foreign proceeding by Brazilian law to administer the reorganization of the

 debtors. Accordingly, pursuant to the plain language of sections 101(24), 1509, and 1515 of the

 Bankruptcy Code, he was not qualified to (1) act as the “foreign representative” of the foreign

 proceeding, (2) commence the Debtors’ Chapter 15 cases, or (3) perform the responsibilities of a

 foreign representative under the provisions of Chapter 15. Embedded in the requirements under




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 those sections is the critical idea that the foreign representative will be accountable to the foreign

 court. This is important because the foreign representative has numerous discretionary

 responsibilities under Chapter 15 that should be performed in the best interests of all parties, not

 simply the debtor or its shareholders. A person simply designated by the board of directors of a

 foreign debtor rather than the foreign court obviously does not satisfy this requirement. Further,

 the Purported Foreign Representative cannot even purport to represent the Brazilian Bankruptcy

 Proceedings of OAS Finance BVI, as the Eastern Caribbean Supreme Court has divested the

 Purported Foreign Representative’s alleged authority to act on its behalf by its order appointing

 joint provisional liquidators (“JPLs”).3

        Moreover, the Debtors request that the Court recognize the Brazilian Bankruptcy

 Proceedings as foreign main proceedings for two entities, OAS Finance BVI and OAS

 Investments, that do not have their centers of main interests (“COMI”) in Brazil. Section

 1516(c) of the Bankruptcy Code provides for a presumption that a debtor’s registered office is

 the center of the debtor’s main interests, and the Debtors have offered insufficient evidence to

 rebut this presumption. The Debtors assertion that the Non-Brazilian Debtors’ COMI is in Brazil

 is based solely on the location of those entities’ directors. Every other factor that the Second

 Circuit considers relevant, however, weighs against a finding of COMI in Brazil.

        Both OAS Finance BVI and OAS Investments are special purpose entities formed to

 issue the Notes. Through their offering memoranda, they specifically held themselves out to the

 investing public as BVI and Austrian entities, respectively. OAS Finance BVI has its registered

 office in BVI, and has never had an address in Brazil. It is a wholly-owned subsidiary of OAS


 3
        Upon information and belief, the JPLs intend to withdraw OAS Finance BVI’s current Chapter 15 petition
        and file another petition seeking recognition of the proceedings before the Eastern Caribbean Supreme
        Court as foreign main proceedings.



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 Investments Limited (“OAS Investments BVI”), also a BVI company. Thus, its equity interests

 are controlled by a BVI entity.                                           It has no assets, employees

 or ordinary course creditors in Brazil. Its only material asset is a U.S. dollar-denominated loan

 to OAS Investments BVI, another BVI entity. Its main creditors are the Noteholders, which are

 located around the world. Its corporate obligations are governed by the laws of the BVI, and its

 obligations to the Noteholders are governed by New York law.

        Similarly, OAS Investments is incorporated in Austria, and its registered office is located

 there. Although he resigned in February 2015, Austrian public records show (and thus third

 parties would ascertain) that a director of OAS Investments resides in Austria in accordance with

 Austrian law. Moreover, Austrian law contemplates that at least one director must reside in

 Austria, and if that ceases to be the case, parties in interest are entitled to demand the

 appointment of a temporary director from an Austrian court.

                         It has no assets, employees or ordinary course creditors in Brazil, but it

 has such creditors in Austria. Its only material asset is a U.S. dollar-denominated loan to OAS

 Investments. Its principal creditors are Noteholders, which are located around the world. Its

 corporate obligations are governed by the laws of Austria, and its obligations to the Noteholders

 are governed by New York law.

        Thus, as the ascertainable COMI of the Non-Brazilian Debtors is outside Brazil, the

 Brazilian Bankruptcy Proceedings of the Non-Brazilian Debtors cannot be recognized by the

 Court as “foreign main proceedings” as defined under section 1502(4). Further, there is no

 evidence that the Non-Brazilian Debtors conduct any local business activity in Brazil, such that

 they can be said to have an “establishment” in Brazil as that term is defined in section 1502(2) of

 the Bankruptcy Code. Accordingly, the Debtors cannot even show that the Brazilian Bankruptcy




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 Proceedings for the Non-Brazilian Debtors can be recognized as “foreign nonmain proceedings”

 as defined under section 1502(5).

        Finally, recognition of the Brazilian Bankruptcy Proceedings is manifestly contrary to

 public policy within the meaning of section 1506, and it would be inappropriate to allow the

 Purported Foreign Representative to operate the Debtors’ U.S. business or exercise any rights

 and powers of a trustee as provided in section 1520(a)(3). The principal cause for the OAS

 Group’s financial maelstrom is the aftereffects of widespread criminal corruption occurring at

 the highest levels of management. Moreover—even after five of the company’s top executives

 were arrested and charged with corruption, money laundering, and the formation of a criminal

 organization—certain OAS Group entities engaged in secret transactions that had the effect of

 extinguishing guarantees of the obligations under the Notes and eliminating Noteholders’

 structural seniority to the company’s most valuable assets. Even in petitioning this Court of

 equity for recognition of their Brazilian Bankruptcy Proceedings (defined below), the Debtors’

 Verified Petition and declarations in support thereof contain half-truths regarding the aftermath

 of the relevant criminal activities, with no disclosure of the executives’ incarceration. Further,

 the Debtors’ submissions contain no explanation, other than vague generalities, of the reasons it

 was necessary to merge one Guarantor (as defined below) out of existence and strip another

 Guarantor of assets worth over $1 billion on the day after Christmas (the “Christmas

 Transactions”), or why those transactions were kept secret for weeks after they occurred.

        According to their filings, the Debtors have approximately $6 million in assets in the U.S.

 which is fairly insignificant for a company with several billions of dollars in debt. Most of those

 funds are currently in the possession of the Sheriff of New York City, and the Court has already

 held that the Debtors’ will not be irreparably harmed from defending against the pending U.S.




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 actions. This, combined with the Debtors’ vehement opposition to any discovery into the

 criminal activities and the Christmas Transactions in this and other U.S. proceedings,

 demonstrates that the Debtors’ true purpose in filing these Chapter 15 Cases is to stay discovery

 and avoid highly damaging information from coming to light. The U.S. courts, however, are part

 of a system that is fundamentally based on principles of transparency and due process. The

 Debtors’ requesting relief from this U.S. Court while actively attempting to avoid any inquiry or

 insight into their clearly nefarious activities is antithetical to those principles. Further, if the

 Debtors have their way, no court will ever review or redress the Debtors’ fraudulent transfers.

 Accordingly, the Debtors seek, in bad faith, to utilize the U.S. courts to absolve them from the

 consequences of a fraudulent scheme, which is manifestly contrary to U.S. public policy. As

 recognition of a foreign proceeding is subject to the public policy exception of section 1506 of

 the Bankruptcy Code, the Brazilian Bankruptcy Proceeding cannot be recognized.

         Deference to the Brazilian courts in this case would also violate U.S. public policy, as

 their laws and procedures do not provide a meaningful ability to avoid the fraudulent transfers

 that occurred prior to the commencement of the Brazilian Bankruptcy Proceedings, and lack

 fundamental due process protections. The Brazilian bankruptcy system affords no access to

 discovery or ability to cross-examine witnesses and present evidence at evidentiary hearings. In

 fact, no public hearings are conducted in the Brazilian Bankruptcy Proceedings, and all

 interaction with the judge is done through undocumented, ex parte meetings. Those ex parte

 procedures are especially concerning here, as the particular facts of this case cast significant

 further doubt on the ability of Noteholders to receive a fair hearing in Brazil. In a misguided

 attempt to comfort the S.D.N.Y. District Court regarding the connection between the Debtors’

 criminal activities and the Christmas Transactions, the Debtors’ counsel informed the District




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 Court that the corruption scandal “does not involve just my client’s companies. It involves,

 effectively, the entire construction industry. It involves Petrobras, the state-controlled oil

 company, and the allegations rises to the level of the federal government. Some people are even

 questioning whether the current president has been implicated.”4 In fact, the current President of

 Brazil was chairwoman of Petrobras from 2003 to 2010, when much of the criminal activity took

 place. Far from providing any comfort, highlighting the widespread nature of the corruption

 only undermines any confidence that may be had in Noteholders’ ability to obtain a fair hearing

 in Brazil, where high-ranking government officials may have personal interests in the

 exoneration of the OAS Group from their wrongdoing.

        The widespread corruption calls into doubt the effectiveness of Brazilian corporate

 governance, and the motivations of the Purported Foreign Representative through which the

 Debtors petition this Court for relief. The Purported Foreign Representative, who is currently an

 in-house attorney in the OAS Group and has been for the past 6 years,




 4
        Huxley Capital Corp. v. OAS S.A., Case No. 15 CV 1637 (GHW), Hr’g Tr., at 13:1-14 (S.D.N.Y. May 7,
        2015) (the “Huxley Transcript”) (attached to Declaration of Benjamin M. Rose in Support of Objection of
        Alden and Aurelius to Petition for Recognition (the “Rose Decl.”) as Exhibit 1).



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                An individual so hopelessly conflicted cannot possibly be an effective

 representative of the interests of creditors.




         Thus, the Court should deny recognition as manifestly contrary to public policy or, at the

 very least, exercise its discretion to deny relief under section 1520(a)(3). Further, in the event

 the Court grants recognition of the Brazilian Bankruptcy Proceedings for some or all of the

 Debtors (which it should not), any order granting recognition should contain provisions tolling

 deadlines pursuant to section 108(c) of the Bankruptcy Code and protecting creditors against

 transfers of U.S. assets to other jurisdictions, as well as the destruction of books, records, or

 other relevant documents and the removal of such documents from the U.S.

                                    FACTUAL BACKGROUND

 I.      The OAS Group

         1.      The OAS Group consists of OAS and all of its direct and indirect subsidiaries,

 whether wholly-owned or otherwise. The Debtors in this chapter 15 case, OAS, Construtora

 OAS S.A. (“Construtora OAS”), OAS Investments, and OAS Finance BVI are members of the

 OAS Group.

         2.      OAS is the ultimate parent of the OAS Group. OAS is privately held by (i) CMP

 Participações Ltda., which owns 90% of OAS and is controlled by Cesar de Araújo Mata Pires,

 and (ii) LP Participações e Engenharia Ltda., which owns 10% of OAS and is controlled by José

 Adelmário Pinheiro Filho (“Pinheiro”). See Verified Petition at ¶ 12.




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         3.      OAS is a holding company and operates through its two principal subsidiaries:

 Construtora OAS and Investimentos (collectively with OAS and Construtora OAS, the

 “Guarantors”). See Verified Petition at ¶ 9.

         4.      Construtora OAS operates the heavy engineering division, and Investimentos is a

 holding company that owns investments in various real estate and infrastructure assets including

 arenas, toll roads, ports, airports and sanitation assets. See id.

         5.      The Non-Brazilian Debtors are special purpose vehicles, the purposes of which

 are/were to raise financing in the international capital markets. After raising that financing, they

 loaned the proceeds to OAS Investments BVI, another special purpose vehicle which, in turn,

 loaned the proceeds to Construtora OAS and other members of the OAS Group.

         6.      The Non-Brazilian Debtors have no other function or business other than to raise

 financing for the OAS Group. Having raised financing and loaned the proceeds to OAS

 Investments BVI to be loaned to Construtora OAS and other OAS Group members, the Non-

 Brazilian Debtors have only one business, which is to collect payments on their respective

 intercompany receivables from OAS Investments BVI, and to use those funds to remit payments

 on their respective debts. Thus, they are not part of an integrated business with the other

 members of the OAS Group, but rather are among the largest creditors of the other members of

 the OAS Group.

         7.      OAS Finance BVI is incorporated in the British Virgin Islands, and is wholly-

 owned by OAS Investments BVI, which is also incorporated in the British Virgin Islands. The

 registered address of OAS Finance BVI is at Trident Trust Company (B.V.I.) Limited, Trident

 Chambers, P.O. Box 146, Road Town, Tortola, British Virgin Islands. OAS Finance BVI is

 registered with the Registrar of Corporate Affairs under BVI Company Number 1766299.




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 Directors of OAS Finance BVI are appointed by its sole shareholder, OAS Investments BVI.

 Pursuant to Section 5.1 of its articles of association, OAS Finance BVI may carry on or

 undertake any business or activity, do any act or enter into any transaction, subject to applicable

 British Virgin Islands legislation. See 8.00% Senior Notes Offering Memorandum (attached to

 Rose Decl. as Exhibit 2) at 111; 8.875% Perpetual Notes Offering Memorandum (attached to

 Rose Decl. as Exhibit 3) at 109. OAS Finance BVI has no employees, and thus no employees in

 Brazil. Its only known asset is a US$909,448,958.33 intercompany receivable from OAS

 Investments BVI, a BVI company, and has no assets in Brazil. See Creditor List Filed on

 April 11, 2015 in Brazilian Bankruptcy Proceeding (the “RJ Creditor List”) (attached to Rose

 Decl. as Exhibit 4) at last page. Its only vendors are located in BVI, not Brazil. Its principal

 liability is its obligation to pay the Notes, which are held by Noteholders all over the world.

        8.      OAS Investments is incorporated in Austria as a limited liability company

 (Gesellschaft mit beshränker Haftung). The registered address of OAS Investments is at

 Fischhof 3/6, 1010 Vienna, Austria. OAS Investments is registered with the Austrian companies

 register under FN 386381h. Pursuant to section three of its articles of association, the “principle

 [sic] corporate purpose” of OAS Investments is the financing of the operations of the OAS

 Group. See 8.25% Senior Notes Offering Memorandum (attached to Rose Decl. as Exhibit 5) at

 114. At the time of its incorporation, one of OAS Investments’ directors, Dr. Klaus Hafner,

 maintained a business address at Schubertring 6, 1010 Vienna, Austria.



                                                                                the most up-to-date

 Austrian public records show that Dr. Hafner is a director of OAS Finance BVI. See OAS




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 Investments GmbH Austrian Companies Register Record (attached to Rose Decl. as Exhibit 6).5

 OAS Investments has no employees, and thus no employees in Brazil. Its only known asset is a

 US$943,089,583.33 intercompany receivable from OAS Investments BVI, and thus it has no

 assets in Brazil. See RJ Creditor List at last page. Its only vendors are located in Austria, not

 Brazil. Its principal liability is its obligation to pay the Notes, which are held by Noteholders all

 over the world.

        9.




 II.    The 2021 Notes, 2019 Notes and Perpetual Notes

        10.      The 2021 and Perpetual Notes were issued under and are governed by indentures

 among OAS Finance Limited, as issuer, OAS S.A., OAS Investimentos S.A. and Construtora

 OAS S.A., as guarantors, Deutsche Bank Trust Company Americas, as trustee, registrar, transfer

 agent and paying agent, and Deutsche Bank Luxembourg S.A., as the Irish paying agent, Irish

 listing agent and Irish transfer agent. See 8.00% Senior Notes Offering Memorandum at 120;

 8.875% Perpetual Notes Offering Memorandum at 118.

        11.      The 2019 Notes were issued under and are governed by indentures among OAS

 Investments, as issuer, OAS S.A., OAS Investimentos S.A. and Construtora OAS S.A., as

 guarantors, Deutsche Bank Trust Company Americas, as trustee, registrar, transfer agent and




 5
        To the extent that original documents cited herein are in a language other than English, the exhibit attached
        to the Rose Decl. shall include both the original document and a certified English translation, to the extent
        available.



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 paying agent, and Deutsche Bank Luxembourg S.A., as the Irish paying agent, Irish listing agent

 and Irish transfer agent. See 8.25% Senior Notes Offering Memorandum at 123.

        12.    Principal is to be payable, and the Notes are transferable and exchangeable, at the

 office or agency maintained for such purposes in New York, New York at the Corporate Trust

 Office of the Trustee. See 8.00% Senior Notes Offering Memorandum at 120; 8.875% Perpetual

 Notes Offering Memorandum at 118; 8.25% Senior Notes Offering Memorandum at 123.

        13.    The Notes and their indentures provide that they will be governed by, and

 construed in accordance with, the laws of the State of New York. The issuers have each

 consented to the non-exclusive jurisdiction of the courts of the State of New York and the United

 States courts located in the Borough of Manhattan, New York City, New York with respect to

 any action that may be brought in connection with the Notes or their indentures. See 8.00%

 Senior Notes Offering Memorandum at 148; 8.875% Perpetual Notes Offering Memorandum at

 137; 8.25% Senior Notes Offering Memorandum at 151.

        14.    The Notes were issued using U.S. underwriters. The underwriters of the 2021

 Notes include HSBC Securities (USA) Inc., and Santander Investment Securities Inc. 8.00%

 Senior Notes Offering Memorandum at 174. The underwriters of the 2019 Notes include

 Deutsche Bank Securities Inc., HSBC Securities (USA) Inc., and Itau BBA USA Securities, Inc.

 8.25% Senior Notes Offering Memorandum at 179. The underwriters of the Perpetual Notes

 include Deutsche Bank Securities Inc., HSBC Securities (USA) Inc., Itau BBA USA Securities,

 Inc., and Santander Investment Securities Inc. 8.875% Perpetual Notes Offering Memorandum

 at 160. The Notes were heavily marketed to investors in the U.S.

 III.   Petrobras Corruption Scandal

        15.    In November 2014, Brazilian federal prosecutors accused the OAS Group of

 charging inflated fees on construction contracts with Brazil’s state-owned oil company,


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 Petrobras, and of funneling kickbacks to Petrobras executives and high-level Brazilian

 politicians. Petrobras was chaired by Dilma Rousseff, the current President of Brazil, from 2003

 to 2010, when much of the relevant activities took place, but who has denied any knowledge or

 wrongdoing. See Another Former Petrobras Executive Arrested in Brazil Scandal, REUTERS,

 Jan. 14, 2015, available at http://www.reuters.com/article/2015/01/14/brazil-petrobras-arrest-

 idUSL1N0UT0FF20150114. The scandal is widespread across the Brazilian construction

 industry, and 34 members of the Brazilian congress are under investigation, including the

 president of the Senate, Renan Calheiros, and the Speaker of the Chamber of Deputies, Eduardo

 Cunha. See Anthony Boadle, Top Brazilian Politicians Investigated in Petrobras Scandal,

 REUTERS, Mar. 7, 2015, available at http://www.reuters.com/article/2015/03/07/us-brazil-

 petrobras-politicians-idUSKBN0M22GV20150307.

        16.     On November 14, 2014, Pinheiro, president and 10% shareholder of OAS and

 chief executive of Construtora OAS and Investimentos, was arrested in connection with the

 corruption scheme. See Criminal Indictment (attached to Rose Decl. as Exhibit 7). Numerous

 other OAS executives were arrested as well, including Agenor Franklin Magalhães Medeiros,

 José Ricardo Nogueira Breghirolli, Mateus Coutinho de Sá Oliveira, and Alexandre Portela

 Barbosa. Id. Prosecutors have formally charged these executives with corruption, money

 laundering, and the formation of a criminal organization. Id. Brazilian police searching OAS

 offices in November found lists of gifts, including luxury watches and fine wines, given to

 leading politicians. Dan Horch, OAS, Brazilian Engineering Company, Seeks Bankruptcy

 Protection, N.Y. TIMES DEALBOOK, Mar. 31, 2015, available at

 http://www.nytimes.com/2015/04/01/business/dealbook/oas-brazilian-engineering-company-

 seeks-bankruptcy-protection.html. Media reports called OAS, among other things, “the Brazilian




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 construction company at the center of the country’s biggest-ever corruption scandal,” and

 emphasized that 22 of the 36 suspects charged by Brazilian prosecutors are current or former

 employees at contractors including OAS. See Filipe Pacheco, OAS Bonds Drop to Record as

 Payment Missed Amid Petrobras Probe, BLOOMBERG BUSINESS, Jan. 5, 2015, available at

 http://www.bloomberg.com/news/articles/2015-01-05/oas-bonds-drop-to-record-as-payment-

 missed-amid-petrobras-probe.

        17.     On February 20, 2015, the Ministério Público Federal (the Brazil Federal

 Prosecutors office) filed a complaint against OAS and Construtora OAS (among other related

 parties and executives) alleging improper conduct in connection with the scandal and seeking

 fines and penalties of approximately R$1 billion Brazilian reais (“R$”)6 and a ban on

 government contracting.

        18.     Apparently, the Debtors’ did not cut ties with the employees arrested for corrupt

 activities. According to the employee list filed with the Brazilian Bankruptcy Court, Agenor

 Franklin Magalhães Medeiros, José Ricardo Nogueira Breghirolli, Mateus Coutinho de Sá

 Oliveira, and Alexandre Portela Barbosa, are still employees of the OAS Group. See Rose Decl.

 at Exhibit 8 at p. 2, 9, 50, 61. Further, according to news reports, after Pinheiro’s incarceration,

 the OAS Group advanced him a year’s worth of salary in the amount of R$7.2 million, or

 approximately $2.4 million. See Rose Decl. at Exhibit 9.

        19.     In addition, in December 2010, OAS made loans in the aggregate amount of

 R$268.9 million to its shareholder entities CMP Participações Ltda. (which is owned by Cesar de

 Araújo Mata Pires) and LP Participações Ltda. (which is owned by Pinheiro). According to

 OAS’s most recent audited financial statements, December 31, 2014, CMP Participações Ltda.


 6
        The exchange rate as of May 15, 2015 was US$1 to R$2.98.



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 and LP Participações Ltda. still owe, in the aggregate R$100.049 million to OAS and certain of

 its subsidiaries. See Individual and Consolidated Financial Statements For the Year Ended

 December 31, 2014 and Independent Auditor’s Report on the Financial Statements (“2014

 Financial Statements”) (attached to Rose Decl. as Exhibit 10) at 42. In the 2014 Financial

 Statements, OAS’s auditor, Deloitte, gave a qualified audit opinion stating that there is no

 evidence that shows that these and other related party receivables in a total amount of R$280mm

 will be repaid, and OAS S.A. should have taken a provision for eventual loss for these

 receivables. See 2014 Financial Statements at 2.

 IV.     Secret Transfers and Merger in Aftermath of Corruption Scandal

         20.    The corruption scandal dramatically impaired the financial position of the OAS

 Group. On November 19, 2014, Standard & Poor’s downgraded the credit ratings of OAS and

 OAS Finance BVI. The moment that downgrade occurred, the holders of the 9th Series

 Convertible Debentures (the “Convertible Debentures”), issued by OAS and guaranteed by

 Construtora OAS, were entitled to accelerate those Debentures. They did so on December 8,

 2014.

         21.    On December 29, 2014, Petrobras issued a press release stating that, in light of the

 charges made against OAS in the scandal, OAS has been temporarily banned from contracting

 with Petrobras and from participating in bids for such contracts.

         22.    As of January 2, 2015, OAS Finance BVI and the Guarantors began to default on

 the bonds issued by OAS Finance BVI.

         23.    As noted in ¶ 21 above, the ratings downgrade on November 19 allowed some of

 the OAS Group’s debts to be accelerated. In the short period of time between then and

 January 2, 2015, when OAS Finance BVI’s bonds went into payment default, the OAS Group




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 engaged in a methodical, brazen series of secret transfers, all of which were designed to be

 severely prejudicial to the holders of the Notes.

                (i)      On December 1, 2014—a week before the Convertible Debentures were
                         accelerated—Construtora OAS (a guarantor of the Notes) transferred
                         assets valued at R$301 million to OAS Engenharia e Construção S.A
                         (“Engenharia”), another subsidiary of OAS. Construtora OAS did not
                         receive any value in return. Significantly, unlike Construtora OAS,
                         Engenharia is not an obligor or guarantor of the Notes. OAS did not reveal
                         this transfer until it published board of director meeting minutes in the
                         Brazil official gazette on January 20, 2015.


                (ii)     On December 26, 2014—seven days before the default on the first interest
                         payment due on the 2021 Notes—Investimentos was merged into OAS.
                         Investimentos’ guaranty of the Notes was a critical element of credit
                         support for the Notes and made them structurally senior to almost all other
                         creditors of the OAS Group as respects the very substantial assets of
                         Investimentos. Although Investimentos was itself insolvent, it had a vastly
                         better ability to pay its creditors than did OAS, which had no assets of its
                         own other than its interests in its subsidiaries. The merger of
                         Investimentos into OAS eliminated the Notes’ structural seniority on the
                         eve of their default. If allowed to stand, the merger will dramatically
                         reduce the recoveries on the Notes.


                (iii)    Remarkably, although OAS had a statutory obligation in Brazil to disclose
                         the merger, it did not do so for an entire month, even as it issued many
                         other public statements in the interim. When OAS finally did disclose the
                         merger, on January 29, 2015, the minutes of OAS’s extraordinary board
                         meeting also revealed that OAS changed the newspaper in which it
                         publishes notices. This change was made on the same day that the illicit
                         merger was also approved. Alden and Aurelius understand that this
                         change—which itself was kept secret—violated Brazilian law, which
                         permits such changes to be approved only at an annual general meeting.


                (iv)     On December 26, 2014, Investimentos transferred its ownership stake in
                         Investimentos e Participações em Infraestrutura S.A. − INVEPAR
                         (“Invepar”) to its subsidiary OAS Infraestrutura. Investimentos’ 24.44%
                         stake in Invepar had a book value of R$1.46 billion as of September 30,
                         2014 but is likely worth much more than that. Investimentos did not
                         receive any value in return. Significantly, unlike Investimentos, OAS
                         Infraestrutura is not an obligor or guarantor of the Notes. This transfer
                         was kept secret until Invepar (and not Investimentos) published a notice
                         on January 7, 2015.


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                (v)




                (vi)    These transfers were conducted in secret while the companies were plainly
                        insolvent and on the verge of many payment defaults.

 V.     Brazilian Bankruptcy Proceedings

        24.     On March 31, 2015, the Debtors commenced judicial reorganization proceedings

 (the “Brazilian Bankruptcy Proceedings”) pursuant to Federal Law No. 11.101 of February 9,

 2005 of the laws of the Federative Republic of Brazil (the “Brazilian Bankruptcy Law”) by filing

 voluntary bankruptcy petitions in the First Specialized Bankruptcy Court of São Paulo (the

 “Brazilian Bankruptcy Court”). On April 1, 2015, the Brazilian Bankruptcy Court issued a

 decision and order (the “Brazilian Bankruptcy Court Order”) approving the continuation of the

 Brazilian Bankruptcy Proceedings. See Verified Petition at ¶¶ 33-34. Without providing any

 party in interest an opportunity to be heard on the issue prior to its ruling, the Brazilian

 Bankruptcy Court indicated that it would treat the ten OAS entities in the Brazilian Bankruptcy

 Proceedings as substantively consolidated. See Brazilian Bankruptcy Court Order (attached to

 Tavares Declaration as Exhibit B) at 3329.

        25.     In the Brazilian Bankruptcy Court Order, the Brazilian Bankruptcy Court also

 appointed Alvarez & Marsal Consultoria Empresarial do Brasil as judicial administrator, see id.,

 and outlined a series of responsibilities for the judicial administrator: it “must report the

 company’s situation within 10 days;” “[t]he judicial receiver shall be responsible for supervising

 the legality of the process and for seeing that the reorganizing companies meet all the deadlines.”



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 See id. at 3330. The judicial administrator must also submit fee proposals and monthly reports,

 see id., and present a list of creditors. See id. at 3332. In addition, the Brazilian Bankruptcy

 Court provided that changes to debts listed by the Debtors in the bankruptcy filing must be sent

 to the judicial administrator. See id. at 3331.

        26.      The Debtors did not provide notice to Noteholders of the commencement of the

 Brazilian Bankruptcy Proceedings.

        27.      On April 27, 2015, a group of Brazilian bondholders filed a motion with the

 Brazilian Bankruptcy Court asking the court to appoint a special monitor to supervise the

 management of the OAS Group and have veto power over management decisions, citing the

 company’s various corrupt activities and fraudulent transfers. See Rose Decl. at Exhibit 15.

 VI.    Role of Debtors and Judicial Administrators Under Brazilian Bankruptcy Law

        28.      Under the Brazilian Bankruptcy Law, debtors may continue to operate in their

 ordinary course of business after filing a bankruptcy petition, subject to oversight by the

 creditors’ committee and the judicial administrator. Brazilian Bankruptcy Law Art. 64. No

 provision of the Brazilian Bankruptcy Law, however, creates a bankruptcy estate, appoints the

 debtor as a trustee, or provides the debtor with trustee-like powers.

        29.




                                                                                   The judicial

 administrator performs the administrative functions in “in-court restructurings,” including,

 among others:

                       Controlling information flow by providing information requested by
                        creditors, see Brazilian Bankruptcy Law Art. 22 I (b), demanding
                        information from creditors, the debtor or their officers, see Brazilian


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                        Bankruptcy Law Art. 22 I (d), publishing notice of the creditor list, see
                        Brazilian Bankruptcy Law Art. 7 § 2, Art. 18, and sending notices to
                        creditors. See Brazilian Bankruptcy Law Art. 22 I (a).

                       Applying to the judge to convene creditors’ meetings (where the plan is
                        discussed, modified, and either approved or rejected), see Brazilian
                        Bankruptcy Law Art. 22 I (g), and chairing those meetings. See Brazilian
                        Bankruptcy Law Art. 37.

                       Performing the claims reconciliation, or “credit verification,” process,
                        including requesting “exclusion, classification otherwise, or rectification
                        of any credit, in the event any falsehood, willful misconduct, sham, fraud,
                        or essential error is uncovered or, further, any documents were overlooked
                        at the time the credit was judged or included in the creditors’ [list].” see
                        Brazilian Bankruptcy Law Art. 7-20.

                       Overseeing the debtor’s activities. See Brazilian Bankruptcy Law Art. 22
                        II (a).

                       Overseeing the debtor’s compliance with restructuring plan. See Brazilian
                        Bankruptcy Law Art. 22 II (a).

                       Hiring professionals. See Brazilian Bankruptcy Law Art. 22 I (h).

                       Filing for “bankruptcy” (i.e. liquidation) if the debtor breaches the
                        obligations under the plan. See Brazilian Bankruptcy Law Art. 22 II (b).

                       Submission of monthly reports on the debtor’s activities. See Brazilian
                        Bankruptcy Law Art. 22 II (c).

 In a liquidation, the judicial administrator has additional duties and powers, including:

                       Undertaking the judicial representation of the bankruptcy case. See
                        Brazilian Bankruptcy Law Art. 22 III (c).

                       Seizing the debtor’s property and documents. See Brazilian Bankruptcy
                        Law Art. 22 III (f).

                       Performing any acts necessary for asset realization and payment of
                        creditors. See Brazilian Bankruptcy Law Art. 22 III (i).

                       Performing all acts for the preservation of rights and actions, to arrange
                        for the collection of debts, and to grant release therefor. See Brazilian
                        Bankruptcy Law Art. 22 III (l).




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                          Redeeming, on behalf of the estate and pursuant to judicial authorization,
                           any mortgaged, attached, or legally retained assets. See Brazilian
                           Bankruptcy Law Art. 22 III (m).

                          Represent the bankruptcy estate in court and retain lawyers. See Brazilian
                           Bankruptcy Law Art. 22 III (n).

         30.      The Brazilian Bankruptcy Law provides no authority to the debtor to bring

 fraudulent transfer actions in reorganization proceedings.7 Parties seeking to avoid transactions

 related to unlawful acts of debtors prior to bankruptcy may only resort to civil measures, with the

 most typical procedure being the revocation suit (ação revocatória). With respect to avoidance

 actions, Brazilian law does not provide for evidentiary hearings or formal discovery. Because

 debtors are required to file a plan of reorganization within 60 days of the publication of notice

 that the Brazilian court has accepted the bankruptcy petition, Brazilian Bankruptcy Law Art. 53,

 actions to avoid transfers between debtors are rarely prosecuted in Brazil prior to plan

 confirmation and are often disposed of under a plan. Thus, parties have no meaningful recourse

 in the Brazilian Bankruptcy Court for the avoidance of fraudulent transactions.

         31.      Further, many important notices, such as the commencement of the bankruptcy

 proceeding, are done by publication, rather than by notice sent to each creditor. See e.g.,

 Brazilian Bankruptcy Law at Art. 7 § 2 (requiring publication of notice of creditor’s list and time

 and place where parties can have access to information); Art. 36 (Creditors’ Committee

 convened by the judge pursuant to notice published in official press); Art. 52 V § 1. I-III

 (requiring notice published in official press containing summary of decision granting processing

 of in-court restructuring, nominal list of creditors, warning about claims reconciliation process);



 7
     Although certain types of avoidance actions can be brought in the Brazilian Bankruptcy Court in parallel
     proceedings where the debtor is in liquidation, see Brazilian Bankruptcy Law Art. 129, there is no similar
     provision that applies to the in-court reorganizations like the Brazilian Bankruptcy Proceedings.



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 Art. 53 III § 1 (judge shall order notice published advising creditors that the restructuring plan

 has been received and setting a deadline for any objections).

 VII.   Commencement of Chapter 15 Cases

        32.     On April 15, 2015, the Purported Foreign Representative filed the Recognition

 Petition in the United States Bankruptcy Court for the Southern District of New York, seeking

 relief under chapter 15 of the Bankruptcy Code and recognition of OAS’s Brazilian Bankruptcy

 Proceedings as a foreign main proceeding. The Purported Foreign Representative also filed his

 declaration [Docket No. 4] (the “Tavares Declaration”) and a declaration of a purported expert

 on Brazilian insolvency law, Eduardo Secchi Munhoz [Docket No. 5] (the “Munhoz

 Declaration”), in support of the Recognition Petition.

        33.     The Petitioner’s chapter 15 filings do not substantively describe the Christmas

 Transactions outlined in ¶ 26 supra, providing little detail or explanation and only referring

 generally to “reduction of costs” and “streamlining of corporate structure.” See, e.g., Verified

 Petition at ¶ 14 n.6. The Recognition Petition and the Tavares Declaration also do not even

 mention, let alone explain, the substantial delays in public disclosure of these highly suspect

 transactions. In addition, the Recognition Petition and the Tavares Declaration fail both to

 disclose the arrests of key executives for exceptionally serious crimes and to provide any

 explanation of the reasons behind their secret intercompany transactions.

        34.     The Recognition Petition does not claim that the Purported Foreign

 Representative was appointed by the Brazilian Bankruptcy Court or other appropriate judicial

 body. Given that the Purported Foreign Representative was not appointed by the Brazilian

 Bankruptcy Court, the Recognition Petition does not contain a copy of any Brazilian court

 decision appointing the Purported Foreign Representative or a certificate from a Brazilian court

 affirming the appointment of the Petitioner as foreign representative. Rather, the Petitioner only


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 asserts that the board of OAS appointed him a foreign representative pursuant to resolutions and

 powers of attorney. See Tavares Declaration at ¶ 3. Nor does the Recognition Petition reference

 a specific statute providing for the appointment of the Purported Foreign Representative.

 VIII. Appointment of Joint Provisional Liquidators for OAS Finance BVI and OAS
       Investments BVI

         35.    On April 16, 2015, the Eastern Caribbean Supreme Court, High Court of Justice –

 Commercial Division in the British Virgin Islands entered an order appointing JPLs for OAS

 Finance BVI, as well as a non-debtor affiliate, OAS Investments BVI. See Orders of the Eastern

 Caribbean Supreme Court, High Court of Justice – Commercial Division in the British Virgin

 Islands, dated April 16, 2015 (the “BVI Order”) (attached to Rose Decl. as Exhibit 17). The

 JPLs are independent professionals and members of a respected international accounting firm.

         36.    The Eastern Caribbean Supreme Court order automatically divested the Debtors’

 directors and the Purported Foreign Representative’s authority to act, or authorize actions, on

 behalf of OAS Finance BVI in connection with this chapter 15 case and the Brazilian

 Bankruptcy Proceedings, and vested that authority entirely in the JPLs. BVI Order at ¶ 4.

         37.    The JPLs filed the Report of the Joint Provisional Liquidators (the “JPL Report”)

 (attached to Rose Decl. as Exhibit 18) with the Eastern Caribbean Supreme Court on April 30,

 2015.

         38.    In connection with preparation of the Report, the JPLs retained a specialist

 insolvency and asset recovery firm of lawyers in São Paulo, Brazil, to review the Brazilian

 Bankruptcy Court record. JPL Report at 3. Counsel advised the JPLs that OAS S.A. had not

 complied with the Brazilian Bankruptcy Court’s Order calling for financial reporting for each of

 the Debtors, and “[t]hus there is no separate reporting in the restructuring filing that allows us to

 assess the true picture of the companies over which we are appointed as Joint Provisional



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 Liquidators.” JPL Report at 4. In addition to OAS S.A.’s noncompliance with the order,

 directors and former directors of OAS Finance BVI and OAS Investments BVI have also

 declined to respond to the JPLs’ requests for information. JPL Report at 4-5.

        39.     Counsel to the JPLs further recommended that “given the urgent need to protect

 the position of [OAS Finance BVI] and [OAS Investments BVI] as independent parties to the

 restructuring, an application be made to advise the Brazilian Court that the Court of the domestic

 jurisdiction of the two companies had appointed Provisional Liquidators, and requesting that the

 Brazilian Court respect this appointment understanding that neither company has employees to

 be protected and need not be restructured themselves, and allow the Joint Provisional Liquidators

 to represent Finance and Investments in the restructuring as arms-length creditors, given that

 neither company requires to be restructured.” JPL Report at 4. Counsel also advised that

 “Article 47 of the Brazilian Bankruptcy code which provides the criteria under which entities can

 be restructured, cannot apply to the BVI entities, and they are improperly included.” JPL Report

 at 4. Accordingly, the JPLs made the aforementioned application to the Brazilian Bankruptcy

 Court on April 28, 2015. Id.

        40.     The JPL Report also set forth insolvency counsel’s review of publicly available

 information on OAS Finance BVI and OAS Investments, and concluded that illicit transfers had

 likely taken place. The Report stated, “there may be investments in other parts of the [OAS]

 [G]roup that we should be aware of and taking steps to protect, or there are undisclosed losses or

 other leakage that will dilute returns to creditors, including [OAS Finance BVI] and [OAS

 Investments BVI].” JPL Report at 10. “In the alternative as demonstrated by OAS’s own

 [filings in the chapter 15 proceedings], Finance and Investments are massively insolvent… In

 this case there has been a massive dissipation in value of the underlying assets and operating




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 entities to at least the extent of the Investments lending of funds raised in Finance and

 Investments GmbH.” Id.

        41.      The JPL Report noted that these losses had not been disclosed by OAS: “Based on

 the review of the little historical information available, this has not been previously reported via

 the annual statements of OAS Group,” and, “Put another way OAS SA predicts virtually no

 recovery for Finance and Investments while offering no explanation for why value to the tune of

 approximately US$2 billion has been dissipated.” JPL Report at 10.

        42.      The JPL Report concluded that the representation of OAS Finance BVI by the

 JPLs in the Brazilian Bankruptcy Court is “paramount” for the protection of its interests. JPL

 Report at 11.

        43.      The JPLs filed the Second Report of the Joint Provisional Liquidators (the

 “Second JPL Report”) with the Eastern Caribbean Supreme Court on May 12, 2015. See Second

 JPL Report (attached to the Rose Decl. as Exhibit 19).

        44.      The JPLs informed the Eastern Caribbean Supreme Court that “primarily due to a

 failure by the management of the companies to provide us with the books and records”

 requested, Second JPL Report at 2, the JPLs had continued to be obstructed in their efforts to

 determine the assets and rights of OAS Finance BVI and OAS Investments BVI. See id. at 2, 4.

 As a result, the JPLs’ Brazilian counsel has recommended bringing an action in Brazil to obtain a

 judicial order for the production of books and records in order to overcome OAS executives’

 lack of cooperation. Id. at 3.

        45.      The JPLs also reemphasized the importance of excluding OAS Finance BVI and

 OAS Investments BVI from the Brazilian Bankruptcy Proceedings as debtors, stating that the

 companies “do not fit within the definition of a company eligible for restructuring since they are




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 essentially funding entities without active business, employees or hard assets. It is hard to see

 how an entity which is set up principally to be a creditor for the advance of funds to operating

 companies can be properly restructured by directors who have a common interest in both

 borrower and lender.” Id. at 3-4.

        46.     The Second JPL Report also stressed that in light of potential claims against OAS

 directors and other third parties, it is especially vital that OAS Finance BVI and OAS

 Investments BVI be treated as creditors in the Brazilian Bankruptcy Proceedings, allowing them

 to investigate these issues and pursue recovery for Noteholders where appropriate. Id. at 3, 7.

 IX.    Chapter 15 Procedural History

        47.     On April 24, 2015, the Alden and Aurelius served their First Set of Document

 Requests Directed to the Foreign Representative in Connection with the (I) Verified Petition for

 Recognition of Brazilian Bankruptcy Proceedings and (II) Motion for Provisional Relief

 Pursuant to Section 1519 of the Bankruptcy Code. See Letter to Judge Bernstein Re: Discovery

 Conference [Docket No. 39], Exh. A. The Debtors subsequently made general objections, as

 well as specific objections and responses, to the discovery requests. See Letter to Judge

 Bernstein Re: May 7, 2015 Discovery Conference [Docket No. 43], Exh. B. At a discovery

 conference held on May 7, 2015, the Court quashed the First Set of Document Requests, and

 overruled the Debtors’ general and specific objections thereto, directing the Debtors to produce

 non-privileged documents on certain topics related to the Recognition Petition. See Letter to

 Judge Bernstein Re: May 7, 2015 Discovery Conference [Docket No. 44] at 1.

        48.     At the May 7, 2015 discovery conference, the Debtors also indicated that the

 temporary restraining order then in place would expire on May 19, 2015, and that they would not

 seek a preliminary injunction at the recognition hearing. Id. at 5. In addition, the Debtors stated

 that at the May 19, 2015 hearing, they will proceed solely on recognition and will not seek any


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 other relief, including the discretionary post-recognition relief under section 1521 of the

 Bankruptcy Code sought in the Recognition Petition. Id.

                                           ARGUMENT

 I.     The Petitioner is Not the Foreign Representative of the Debtors.

        49.     “[R]ecognition under Section 1517 of the Bankruptcy Code is not a ‘rubber stamp

 exercise’ . . . . The ultimate burden of proof on the requirements of recognition is on the foreign

 representative.” Lavie v. Ran (In re Ran), 607 F.3d 1017, 1021 (5th Cir. 2010). “[I]n contrast to

 the jurisprudence that developed under section 304 that emphasized discretion and flexibility . . .

 the new recognition regime under chapter 15 is procedurally quite rigid.” In re Basis Yield

 Alpha Fund (Master), 381 B.R. 37, 46 (Bankr. S.D.N.Y. 2008). The plain terms of the

 Bankruptcy Code establish that the foreign representative must be authorized in the foreign

 proceeding by the foreign court to act either as the administrator of the reorganization or as the

 representative of such foreign proceeding. 11 U.S.C. §§ 101(24), 1515. The Purported Foreign

 Representative, however, has not been authorized to act in either role in this case. Nothing in the

 decision commencing the Brazilian Bankruptcy Proceedings appoints the Purported Foreign

 Representative as a representative of those proceedings. Rather, the only evidence shows that

 Debtors’ board unilaterally “appointed” the Purported Foreign Representative to serve their

 interests in these proceedings. Nor have the Debtors shown that Brazilian law authorizes the

 Purported Foreign Representative to administer the reorganization of the Debtors’ assets or

 affairs. Thus, the Debtors have not satisfied their burden of compliance with the Bankruptcy

 Code’s rigid recognition requirements, and recognition must be denied.

        50.     Section 101(24) of the Bankruptcy Code defines the term “foreign representative”

 as “a person or body, including a person or body appointed on an interim basis, authorized in a

 foreign proceeding to administer the reorganization or the liquidation of the debtor’s assets or


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 affairs or to act as a representative of such foreign proceeding.” 11 U.S.C. § 101(24). Under

 section 101(23), the term “foreign proceeding” means “a collective judicial or administrative

 proceeding in a foreign country … under a law relating to insolvency or adjustment of debt in

 which proceeding the assets and affairs of the debtor are subject to control or supervision by a

 foreign court, for the purpose of reorganization or liquidation.” 11 U.S.C. § 101(23). Read

 together, these sections require that a foreign representative be “authorized in” a “judicial or

 administrative proceeding” in the foreign country.

        51.     Further, pursuant to section 1517 of the Bankruptcy Code, an order recognizing a

 foreign proceeding may only be entered if the petition meets the requirements of section 1515.

 Section 1515(a) provides that a “foreign representative applies to the court for recognition of a

 foreign proceeding in which the foreign representative has been appointed by filing a petition for

 recognition.” 11 U.S.C. § 1515(a) (emphasis added). Again, the reference to appointment in the

 foreign proceeding clearly contemplates appointment by the foreign tribunal.

        52.     For a petition to meet the requirements of section 1515(b), it must be

 accompanied by:

                (1) a certified copy of the decision commencing such foreign proceeding
                and appointing the foreign representative;

                (2) a certificate from the foreign court affirming the existence of such
                foreign proceeding and of the appointment of the foreign representative; or

                (3) in the absence of evidence referred to in paragraphs (1) and (2), any
                other evidence acceptable to the court of the existence of such foreign
                proceeding and of the appointment of the foreign representative.

 11 U.S.C. § 1515(b).

        53.     Thus, section 1515(b)(1) anticipates that the petition for recognition would be

 accompanied by a decision appointing the foreign representative. Courts or other tribunals issue

 decisions, not boards of directors. Further, section 1515(b)(2) specifically requires action by a


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 foreign tribunal. Section 1515(b)(3) does not refer to decisions or certifications of a foreign

 tribunal, but requires other sufficient evidence of appointment of the foreign representative.

 Thus, the Bankruptcy Code clearly requires either (i) an express written authorization from a

 foreign tribunal or (ii) evidence of foreign statutory authorization of the purported foreign

 representative “to administer the reorganization or the liquidation of the debtor’s assets or affairs

 or to act as a representative of [the] foreign proceeding,” within the meaning of Section

 101(24)’s definition of “foreign representative.”

        54.     Judicial authorization serves an important function that is not served where the

 foreign representative is appointed by the debtor. The foreign judicial or administrative tribunal

 is presumed to be neutral with respect to the many competing interests at stake in a bankruptcy

 and is subject to appellate review. In contrast, the Debtors’ board is not neutral; there is no

 evidence that its decision was reasoned in any way; and it was not subject to review. In addition,

 where a foreign representative is appointed by a foreign tribunal, that person is answerable to the

 appointing tribunal. This important safeguard was ignored in this case. The Purported Foreign

 Representative is not answerable to anyone but the Debtors.

        55.     Requiring evidence of the foreign court’s authorization of the foreign

 representative for recognition of a foreign proceeding is consistent with the requirement in

 section 1505 of the Bankruptcy Code that the United States bankruptcy court authorize the

 trustee or another entity (including an examiner) to act in a foreign country on behalf of the U.S.

 bankruptcy estate. See 11 U.S.C. § 1505. The legislative history of section 1505 provides that

 “[t]hat requirement is a change from the language of the Model Law, but one that is purely

 internal to United States law. Its main purpose is to ensure that the court has knowledge and

 control of possibly expensive activities, but it will have the collateral benefit of providing further




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 assurance to foreign courts that the United States debtor or representative is under judicial

 authority and supervision.” House Report No. 109-31, Pt. 1, 109th Cong., 1st Sess. 108-109

 (2005) (emphasis added). The assurance that Congress contemplates under section 1505 where a

 foreign court is asked to recognize a United States bankruptcy case is the same type of assurance

 section 1515 requires where a United States court is asked to recognize a foreign proceeding, but

 which is lacking here. Given the plain language of section 1515, there is no basis to distinguish

 between the two contexts. And, this assurance is particularly important where, as here, under the

 foreign law the debtor does not have all the duties, powers and responsibilities of a debtor in

 possession under the Bankruptcy Code (as discussed below).

        56.      The accountability of the foreign representative to the foreign tribunal that

 appoints him is critical because recognition of a foreign proceeding in Chapter 15 is a threshold

 requirement that must be satisfied before any efforts to enforce a foreign bankruptcy proceeding

 may be pursued,8 and, once recognition is granted, Chapter 15 vests the foreign representative

 with considerable powers and discretionary responsibilities. In addition to having the authority

 to seek various forms of bankruptcy relief such as extension of the automatic stay, injunctive

 relief, and the commencement of a case under Chapter 11 or Chapter 7, the foreign

 representative also is authorized to initiate fraudulent transfer actions under foreign law, in a

 Chapter 15, or under U.S. law in a case under Chapter 7 or 11 (if one is commenced), for the

 benefit of creditors. See In re Oversight and Control Comm’n of Avnzit, S.A., 385 B.R. 525, 540

 (Bankr. S.D.N.Y. 2008) (recognizing oversight committee as foreign representative because it


 8
        See In re Bear Stearns High-Grade Structured Credit Strategies Master Fund, Ltd., 389 B.R. 325, 333
        (S.D.N.Y. 2008) (“Requiring recognition as a condition to nearly all court access and consequently as a
        condition to granting comity distinguishes Chapter 15 from its predecessor section 304.”); H.R. 109-31(I)
        at 110 (“Subsections (b)(2), (b)(3), and (c) [of section 1509] make it clear that chapter 15 is intended to be
        the exclusive door to ancillary assistance to foreign proceedings.”).



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 was “created under the Convenio approved by the Spanish Insolvency Court for the stated

 purpose of protecting the interests of creditors” and was authorized to pursue causes of action for

 the benefit of creditors); see also Fogerty v. Petroquest Res. Inc., (In re Condor Ins. Ltd.), 601

 F.3d 319, 323-24 (5th Cir. 2010) (holding that foreign representative was authorized to bring

 avoidance actions under foreign law in context of Chapter 15 proceeding); Awal Bank, BSC v.

 HSBC Bank USA (In re Awal Bank, BSC), 455 B.R. 73, 90-91 (Bankr. S.D.N.Y. 2011) (“By

 affording standing to the foreign representative [in the event a Chapter 11 or Chapter 7 case is

 commenced], § 1523(a) gives the foreign representative the power and authority of

 a trustee under § 553 as well as the other avoidance provisions of the Bankruptcy Code. … one

 of the limited but important purposes of § 1523(a) is to place the foreign representative in the

 shoes of a chapter 7 or chapter 11 trustee for the purpose of pursuing the enumerated avoidance

 claims.”); 11 U.S.C § 1521(a)(7); 11 U.S.C. § 1523(a). Fraudulent transfer actions seek to undo

 transactions the debtor has consummated. To say the least, an individual aligned with and

 answerable only to the debtor – and not the foreign tribunal – is not likely to seek this relief on

 behalf of the debtor’s creditors, especially here where the Purported Foreign Representative was

 counsel for both Investimentos and Infraestrutura in connection the transfer of Invepar stock out

 of Noteholder reach.

        57.     The Debtors fail to meet the requirements of sections 1515 (b)(1) and (b)(2), on

 which they purport to rely, see Verified Petition at ¶ 70, because they have not provided the

 requisite decision or certificate of the foreign court appointing a foreign representative. Given

 that the Purported Foreign Representative was not appointed by the Brazilian Bankruptcy Court,

 his accountability to that court must come from a Brazilian statute authorizing him to “administer

 the reorganization or the liquidation of the debtor’s assets or affairs or to act as representative of




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 the foreign proceeding.” 11 U.S.C. § 101(24). The Debtors do not argue that the Brazilian law

 specifically authorizes the appointment of any person or body to represent the foreign proceeding

 extraterritorially. Rather, the Debtors assert that they themselves are authorized to administer the

 reorganization under Brazilian law and thus may appoint their own foreign representative.

 Verified Petition at ¶ 67. Other than unsupported conclusory and inaccurate statements from the

 Debtors’ purported Brazilian law expert that a Brazilian debtor is akin to the debtor in possession

 under U.S. law,9 however, there is no evidence of any such authority and, in fact, no such

 authority exists under Brazilian law.

        58.      Although the Debtors and their officers and directors maintain the ability to

 operate their business in the ordinary course, Brazilian Bankruptcy Law contains no

 authorization for the Debtors to act as a “debtor in possession” in the Brazilian Bankruptcy

 Proceeding. Brazilian law does not provide the Debtors with any of the rights, duties, or

 functions of a trustee, cf. 11 U.S.C. § 1107(a) (“a debtor in possession shall have all the rights…

 and powers, and shall perform all the functions and duties… of a trustee serving in a case under

 this chapter.”), or authorize to the debtor to perform any other act that might otherwise affect the

 reorganization (other than filing a plan). Moreover, the Brazilian bankruptcy does not create an

 estate to which the Debtors owe fiduciary duties, nor does Brazilian law bestow any special

 powers on the Debtors, such as avoidance powers, to exercise for the benefit of creditors.


 9
        Mr. Munhoz attempts to shoehorn the Purported Foreign Representative into the “administration” portion
        of the foreign representative definition simply by stating that under Brazilian law, “[a]s a general rule, the
        debtor, through its board of directors or agents, retains the right to administer its assets and affairs and to
        operate its business during the reorganization proceeding.” Declaration of Eduardo Secchi Munhoz
        Pursuant to 28 U.S.C. § 1746 in Support of Petition for Recognition of Brazilian Bankruptcy Proceedings
        and Motion for Order Granting Related Relief Pursuant to 11 U.S.C. §§ 1515, 1517, 1520, and 1521 (the
        “Munhoz Declaration”) at ¶ 12, and comparing the Debtors to U.S. debtors in possession.


                                Moreover, these statements do not comport with reality.



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 Further, under Brazilian Bankruptcy Law, the Debtor has no bankruptcy-specific administrative

 duties, such as reconciling and objecting to claims, providing notice and information to creditors,

 or soliciting acceptance of a plan. Thus, under the Brazilian Bankruptcy Law, the Debtors do not

 have the duties or powers to administer reorganization or liquidation proceedings within the

 meaning of section 101(24). As such, the Debtors cannot bestow those duties and powers on the

 Purported Foreign Representative, and the Debtors’ powers and attorney and board resolutions

 purporting to do so are ineffective.

        59.     Moreover, while exaggerating their own power to manage restructuring efforts in

 the Brazilian Bankruptcy Proceedings, the Debtors crucially omit any mention of the substantial

 statutory duties and powers of the judicial administrator and the oversight of the creditors’

 committee. The Brazilian court appointed Alvarez & Marsal Consultoria Empresarial do Brasil

 as judicial administrator, see Brazilian Bankruptcy Court Order at 3329, and outlined its rights

 and responsibilities, including to report the company’s situation within 10 days, to submit fee

 proposals and monthly reports, and to “supervis[e] the legality of the [reorganization] process

 and for seeing that the reorganizing companies meet all deadlines.” Brazilian Bankruptcy Court

 Order at 3329. The Brazilian Court Order contained no mention of any administrative duties or

 powers of the Debtor. Further, among other things, the Brazilian Bankruptcy Law requires the

 judicial administrator to perform all claims reconciliation functions, compile the creditor list,

 publish notices, preside over the creditors’ meetings (where the plan is discussed, modified, and

 either approved or rejected), provide financial and other information to creditors, issue monthly

 reports, and oversee the debtors to ensure compliance with law and a confirmed plan, see ¶ 32,

 all of which are duties and powers bestowed on the trustee or debtor in possession under U.S.

 law, and none of which are provided to the Debtors under Brazilian law. As stated by Mr.




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 Munhoz at his deposition, the judicial administrator ‘s role is “control and overseeing the judicial

 restructuring process.” See Munhoz Transcript at 50:7-12.

         60.     The Brazilian Bankruptcy Court Order and Brazilian Bankruptcy Law are clear:

 the judicial administrator, not the Debtors, is empowered to administer the reorganization of the

 Debtors’ assets and affairs in the Brazilian Bankruptcy Proceedings. Accordingly, the Debtors’

 purported appointment of Mr. Tavares as a foreign representative with such powers can have no

 legal effect.

         61.     The Debtors’ failure to comply with the express and unambiguous terms of the

 Bankruptcy Code means the Purported Foreign Representative may not be the “foreign

 representative,” as that term is defined under section 101(24), in this case. See, e.g., United

 States v. Ron Pair Enters., Inc., 489 U.S. 235, 241 (1989) (where the “statute’s language is plain,

 ‘the sole function of the courts is to enforce it according to its terms’”) (quoting Caminetti v.

 United States, 242 U.S. 470, 485 (1917)); Drawbridge Special Opportunities Fund LP v. Barnet

 (In re Barnet), 737 F.3d 238, 249-51 (2d Cir. 2013) (vacating recognition order and holding that

 section 109(a) applies in chapter 15 cases under a “plain meaning” analysis, under which statutes

 are interpreted such that “no part will be inoperative or superfluous”); Laime v. U.S. Trustee, 540

 U.S. 526, 534-35 (2004) (applying the plain meaning rule when interpreting 11 U.S.C. § 330).

         62.     The Debtor’s citation to the district court decision in In re Vitro, S.A.B. de C.V.,

 470 B.R. 408, 411 (N.D. Tex. 2012), see Verified Petition at ¶ 67, does not change that result. In

 both the Vitro district court opinion, and the Fifth Circuit opinion affirming it, the courts relied

 on the fact that the noteholders sought a determination from the Mexican court that the board

 appointees were not the proper foreign representatives, but the Mexican court declined to do so,




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 which the Fifth Circuit interpreted as “tacit approval.” In re Vitro S.A.B. de CV, 701 F.3d 1031,

 1048 (5th Cir. 2012). Here, there was no tacit approval from the Brazilian Bankruptcy Court.

        63.     In considering whether the foreign representatives had administrative power, the

 Fifth Circuit, in Vitro, found that exclusive reliance on the Chapter 11 definition of “debtor in

 possession” was inappropriate, and looked to the UNCITRAL Practice Guide on Cross-Border

 Insolvency (the “Guide”) for guidance on the question of whether the Mexican debtors were

 considered debtors in possession under the Model Law. There, the court found the definition of

 debtor in possession to be a debtor that “remain[s] in control of its assets and could technically

 be regarded as exercising administrative type of functions, although under the supervision of a

 judicial or administrative authority” and “a debtor in reorganization proceedings, which retains

 full control over the business, with the consequence that the court does not appoint an insolvency

 representative.” Id. at 1050. Here, although the Debtors maintain control of the operation of

 their businesses, they cannot be regarded as “exercising administrative type of functions” and the

 Brazilian court has appointed an “insolvency representative,” i.e. the judicial administrator, who

 oversees the Debtors’ day-to-day operations and is accountable to the Brazilian court.

        64.     Moreover, in reaching its conclusion the Fifth Circuit interpreted the phrase

 “authorized in a foreign proceeding” to mean “authorized in the context of a foreign bankruptcy

 proceeding,” effectively changing the terms “authorized in a foreign proceeding” to “authorized

 under the laws of the jurisdiction in which the foreign proceeding is pending.” While Congress

 has used the phrases “in the context of”10 and “authorized under applicable law”11 in other


 10
        See e.g., 18 U.S.C. § 2441(c)(3) (defining “war crime” as, among other things, certain acts “when
        committed in the context of and in association with an armed conflict . . .”) (emphasis added); 21 U.S.C. §
        387k(h)(1) (calling for marketing to enable the public to understand risk “in the context of total health”)
        (emphasis added); 41 U.S.C. § 1704(g)(3)(F) (requiring an examination of certain factors “in the context of
        a 5-year plan . . . ”) (emphasis added).



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 statutes, neither of such phrases appears in section 101(24), and the Court should not add words

 to a statute. See In re Sealed Case, 573 F.3d 844, 849 (D.C. Cir. 2009) (declining to add words

 to straightforward statutory language prohibiting courts from using imprisonment as

 rehabilitation in determining prison sentence, and thereby obviate plain meaning); Richardson v.

 Sunset Science Park Credit Union, 268 F.3d 654, 660 (9th Cir. 2001) (refusing interpretation of

 clear statutory language that would require court to add word to statute); Waller v. Pidgeon, Case

 No. 306506, 2008 WL 2338217, at *5 (N.D. Tex. June 5, 2008) (where statute was plain, court

 could not insert additional term into statute), aff’d, Waller v. Pidgeon, 324 F. App’x 431 (5th Cir.

 2009); Schwyzer v. Fiduciary Trust Co. Int’l, Case No. 04 Civ. 7975 (RCC), 2005 U.S. Dist.

 LEXIS 46633, at *12 (S.D.N.Y. Aug. 4, 2005) (“The Court finds it unnecessary to… add words

 that Congress either chose not to or failed to include [in the statute]”). Congress’s decision not

 to use such phrases in section 101(24), must be given effect. See, e.g., Keene Corp. v. United

 States, 508 U.S. 200, 208 (1993) (“Where Congress includes particular language in one section

 of a statute but omits it in another . . . , it is generally presumed that Congress acts intentionally

 and purposely in the disparate inclusion or exclusion.”) (quoting Russello v. United States, 464

 U.S. 16, 23 (1983)).

         65.      Further, the Fifth Circuit relied on reports of the UNCITRAL Working Group on

 Insolvency Law in finding that the foreign representative did not require foreign court approval,

 citing one such report in which the Working Group declined to include a requirement that the

 foreign representative be “[specifically] authorized by statute or other order of court

 11
         See, e.g., 11 U.S.C. § 101(1) (“The term ‘accountant’ means accountant authorized under applicable law
         . . . .”); 11 U.S.C. § 101(4) (“The term ‘attorney’ means attorney, professional law association, corporation,
         or partnership authorized under applicable law to practice law.”); 11 U.S.C. § 109(c)(2) (“is specifically
         authorized, in its capacity as a municipality or by name, to be a debtor under such chapter by State law,
         . . .”); § 11 U.S.C. 541(b)(3) (“any eligibility of the debtor to participate in programs authorized under the
         Higher Education Act of 1965 . . .”); 11 U.S.C. § 321(a)(2) (“a corporation authorized by such
         corporation’s charter or bylaws to act as trustee . . . .”) (all emphases added).



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 (administrative body) to act in connection with a foreign proceeding.” Vitro, 701 F.3d at 1048.

 In doing so, the Working Group expressed concerns with that inclusion of such a definition

 would be unduly restrictive. See id. The Working Group’s desire to provide flexibility to

 foreign courts regarding the formalities of their appointment of foreign representatives, however,

 does not change the words of the Bankruptcy Code, which specifically require authorization and

 appointment of the foreign representative in a foreign proceeding. Thus, the Vitro decisions are

 inapposite to this Court’s analysis.

        66.     The Debtors’ reliance on In re SIFCO S.A., No. 14-11179 (REG) [Docket No. 38]

 (Bankr. S.D.N.Y. Oct. 23, 2014); In re Rede Energia S.A., No. 14-10078 (SCC) [Docket No. 18]

 (Bankr. S.D.N.Y. Mar. 6, 2014); In re Centrais Eletricas Do Para S.A., No. 12-14568 (SCC)

 [Docket No. 19] (Bankr. S.D.N.Y. Dec. 12, 2012) is also misplaced. See Verified Petition at ¶

 67. In SIFCO and Rede Energia, creditors who objected to the petition for recognition did not

 raise the issue of whether the foreign representative had been duly appointed in a foreign

 proceeding, and the question was not litigated before the court. See In re SIFCO S.A., No. 14-

 11179 (REG) [Docket No. 32] (Bankr. S.D.N.Y. Oct. 15, 2014); In re Rede Energia S.A., No.

 14-10078 (SCC) [Docket No. 16] (Bankr. S.D.N.Y. Feb. 25, 2014). In Centrais Eletricas Do

 Para, no objection to the recognition petition was filed by any party at all. Thus, these orders,

 entered in uncontested circumstances and without an opinion, are not binding on and should not

 be considered precedential by this Court. See NLRB v. Steinerfilm, Inc., 702 F.2d 14, 17 (1st Cir.

 1983) (unpublished orders without opinion may lack precedential value); United States v. Knote,

 818 F. Supp. 1280, 1283 (E.D. Mo. 1993), aff’d, 29 F.3d 1297 (8th Cir. 1994) (noting that an

 unpublished order issued by consent has “little precedential value.”); Bd. of Managers of Soho

 Int’l Arts Condo. v. City of New York, Case No. 01 Civ. 1226 (DAB), 2003 U.S. Dist. LEXIS




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 10221, at *51 n. 20 (S.D.N.Y. June 17, 2003) (“Unreported or unpublished decisions … have

 ‘little (or no) precedential value.’”) (quoting Dubai Islamic Bank v. Citibank, N.A., 126 F. Supp.

 2d 659, 669 (S.D.N.Y. 2000)).

        67.     There can be no doubt that the Debtors’ appointment of the Purported Foreign

 Representative lacks force and effect with respect to OAS Finance BVI, which is incorporated in

 the British Virgin Islands. The Eastern Caribbean Supreme Court’s order appointing JPLs for

 OAS Finance BVI makes the JPLs the parties with the right to administer the reorganization or

 liquidation of the OAS Finance BVI’s assets and affairs. That order automatically divested the

 Debtors’ directors and the Purported Foreign Representative’s authority to act, or authorize

 actions, on behalf of OAS Finance BVI in connection with these chapter 15 cases as well as the

 Brazilian Bankruptcy Proceedings, and vested that authority entirely in the JPLs. The JPL

 Report concluded that the representation of OAS Finance BVI by the JPLs in the Brazilian

 Bankruptcy Court is “paramount” for the protection of its interests. JPL Report at 11. The

 Report also noted that “Article 47 of the Brazilian Bankruptcy code which provides the criteria

 under which entities can be restructured, cannot apply to the BVI entities, and they are

 improperly included.” JPL Report at 4. Accordingly, Brazilian insolvency counsel for the JPLs

 made an application to the Brazilian Bankruptcy Court on April 28, 2015 to represent OAS

 Finance BVI in the Brazilian Bankruptcy Proceedings. Id. As a result of the commencement of

 the British Virgin Islands liquidation proceedings, only the JPLs may act as foreign

 representative for OAS Finance BVI. Accordingly, the OAS Finance BVI petition for

 recognition must be denied.

        68.     Finally, given that the sole business of the Non-Brazilian Debtors is the issuance

 and repayment of the Notes, and that their only significant assets are intercompany receivables,




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 the Non-Brazilian Debtors’ interests are as creditors, and thus adverse to the other Debtors. It is

 inappropriate to have the same foreign representative to represent adverse parties, as it represents

 an irreconcilable conflict of interest.

 II.     Recognizing the Brazilian Bankruptcy Proceedings Would Be Manifestly Contrary
         to Public Policy Under Section 1506 of the Bankruptcy Code.

         69.     “Consistent with the traditional limits of comity, all relief under chapter 15

 is subject to the caveat in § 1506.” In re Toft, 453 B.R. 186, 191 (Bankr. S.D.N.Y. 2011); see

 also, 11 U.S.C. § 1517(a) (subjecting the entry of an order granting recognition to section 1506).

 Section 1506 of the Bankruptcy Code provides, “[n]othing in this chapter prevents the court from

 refusing to take an action governed by this chapter if the action would be manifestly contrary to

 the public policy of the United States.” 11 U.S.C. § 1506. As the Second Circuit has recognized,

 “[t]he principle of comity has never meant categorical deference to foreign proceedings. It is

 implicit in the concept that deference should be withheld where appropriate to avoid the violation

 of the laws, public policies, or rights of the citizens of the United States.” In re Treco, 240 F.3d

 148, 157 (2d Cir. 2001).

         70.     Bankruptcy courts have applied section 1506 where deferring to foreign

 proceedings would result in serious violations of the rights of U.S. parties. See, e.g., In re

 Toft, 453 B.R. at 201 (refusing to recognize and enforce foreign orders which would have

 permitted the foreign representative to access the debtor’s email accounts stored on servers

 within the United States; recognition would violate “fundamental principles”); In re Qimonda

 AG, 462 B.R. 165, 185 (Bankr. E.D. Va. 2011) (deferring to German law, to the extent that it

 would allow for the cancellation of U.S. patent licenses, would be manifestly contrary to U.S.

 public policy); In re Gold & Honey, Ltd., 410 B.R. 357, 372-73 (Bankr. E.D.N.Y. 2009)

 (denying recognition of Israeli proceeding where recognition would “severely impinge the value



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 and import of the automatic stay,” and doing so would “ensue in derogation of fundamental

 United States policies.”).

        A.      Recognition is Manifestly Contrary to the Fundamental U.S. Policy of Refusing to
                Shelter Bad Faith Schemes.

        71.     The requirement of good faith is a necessary condition for any relief that a

 bankruptcy court, as a court of equity, may grant under the Bankruptcy Code. This seminal

 principle was central to the Supreme Court’s decision in Pepper v. Litton, 308 U.S. 295 (1939),

 in which the Supreme Court struck down a scheme in which an insider sought to use his strategic

 position with the debtor “so that the rights of another creditor were impaired.” If the scheme was

 upheld, as the Court explained, “exploitation would become a substitute for justice; and equity

 would be perverted as an instrument for approving what it was designed to thwart.” Id. at 311-

 13.

        72.     As this Court has held, the good faith standard reflects the general principle that

 “a litigant seeking relief must have ‘acted fairly and without fraud or deceit as to the controversy

 in issue.’” 1633 Broadway Mars Rest. Corp. v. Paramount Grp., Inc. (In re 1633 Broadway

 Mars Rest. Corp.), 388 B.R. 490, 500 (Bankr. S.D.N.Y. 2008). Similarly, in Little Creek Dev.

 Co. v. Commonwealth Mort. Co. (In re Little Creek Dev. Co.), 779 F.2d 1068 (5th Cir. 1986), the

 Fifth Circuit held that every bankruptcy statute “has incorporated, literally or by judicial

 interpretation, a standard of good faith for the commencement, prosecution, and confirmation of

 bankruptcy proceedings.” Id. at 1071. The court continued, “[the] [r]equirement of good faith

 prevents abuse of the bankruptcy process by debtors whose overriding motive is to delay

 creditors without benefitting them in any way or to achieve reprehensible purposes. Moreover, a

 good faith standard protects the jurisdictional integrity of the bankruptcy courts by rendering




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 their powerful equitable weapons (i.e., avoidance of liens, discharge of debts, marshalling and

 turnover of assets) available only to those debtors and creditors with ‘clean hands.’” Id. at 1072.

        73.     The Court is “entitled to demand utmost good faith and honesty” from all

 participants in the bankruptcy process. In re Starbrite Props. Corp., Case No. 11-40758 (CEC),

 2012 Bankr. LEXIS 2599, at *23 (Bankr. E.D.N.Y. June 5, 2012) (quoting In re Condon, 358

 B.R. 317, 328 (6th Cir. BAP 2007)). See also In re Coastal Cable T.V., Inc., 709 F.2d 762, 764

 (1st Cir. 1983) (“[a basic bankruptcy] principle prohibits the use of the bankruptcy court, a court

 of equity, to further a fraudulent purpose.”); In re Natural Land Corp., 825 F.2d 296, 298 (11th

 Cir. 1987) (affirming dismissal of reorganization petition and noting that in finding lack of good

 faith, “courts have emphasized an intent to abuse the judicial process and the purposes of the

 reorganization provisions.”). Thus, prevention of abuse of the court system reflects a

 fundamental U.S. public policy.

        74.     Less than six months ago, the Debtors’ top executives were arrested for serious

 financial crimes. Apparently, however, the OAS Group has not severed ties with some or all of

 those executives, as it advanced Pinheiro a year’s salary in the amount of R$7.2 million after he

 was incarcerated. A month and a half after the arrests, the Debtors brazenly engaged in

 unilateral transactions designed to eliminate guarantees and destroy the Noteholders’ bargained-

 for structural seniority to the Debtors’ most valuable assets. The Debtors covertly performed

 these transactions on the day after Christmas, and kept them secret for several weeks. The

 Purported Foreign Representative, through whom the Debtors come to this Court, was the

 general counsel for the Guarantor entity that was fraudulently merged out of existence. His

 appointment as Purported Foreign Representative was approved by the same board that approved




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 the Christmas Transactions. All of these details suggest that the Debtors have actively

 perpetrated a fraudulent scheme to damage Noteholder interests.

        75.      The Debtors’ filings in these Chapter 15 Cases omit important details in an

 attempt to gloss over the seriousness of the conduct of the Debtors’ management, and contain no

 credible explanation for the Christmas Transactions beyond “streamlining corporate structure.”

 See Verified Petition at ¶ 14 n. 6. This lack of transparency has carried through to the BVI

 liquidation proceedings, where the JPLs have been unable, despite repeated requests, and a clear

 legal entitlement, to obtain relevant information. See JPL Report at 4-5; Second JPL Report at

 2-4. The centerpiece of their argument against producing discovery in the fraudulent transfer

 action before the S.D.N.Y. District Court has been that recognition of the Brazilian Bankruptcy

 Proceedings is forthcoming from this Court, and therefore discovery should not proceed because

 the action will be stayed.12 Thus, the Debtors are clearly intent on ensuring that the details of

 their fraudulent scheme, and potentially continuing criminal corruption on the part of their

 management, never come to light in the U.S., and their request for recognition is an attempt to

 use this Court as a means to do so. The Court should reject this attempt, and deny recognition as

 manifestly contrary to U.S. public policy.

        B.       The Brazilian System Lacks Certain Fundamental Due Process Protections.

        76.      The Debtors are likely to argue that the Court need not consider whether

 recognition will shelter a bad faith scheme, because the Brazilian court system will provide

 creditors with a forum to seek redress. This is no answer, however, because the Brazilian system

 severely departs from several U.S. notions of due process, which is a fundamental U.S. policy.



 12
        The S.D.N.Y. District Court declined to stay discovery in the Huxley action, finding that anticipated
        motions to dismiss were not a basis for a finding of good cause. See Huxley Transcript at 28:11-22.



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 Thus, the Brazilian Bankruptcy Proceedings run afoul of the section 1506 public policy

 exception and should not be recognized.

        77.     Due process is a fundamental constitutional norm and a centerpiece of the rule of

 law in the United States. Where a foreign proceeding offends fundamental United States notions

 of due process, enforcing an order that is the product of such a proceeding violates public policy.

 See International Transactions, Ltd. v. Embotelladora Agral Regiomontana, SA de CV, 347 F.3d

 589, 594-96 (5th Cir. 2003) (refusing to enforce Mexican judgment because relief was afforded

 on an ex parte basis); In re Remington Rand Corp. v. Bus. Sys. Inc., 830 F.2d 1260, 1266 (3d Cir.

 1987) (refusing to extend comity to Dutch court’s sale order because the U.S. company did not

 have notice or an opportunity to be heard), aff’d, sub nom., Kilbarr Corp. v. Bus. Sys. Inc., B.V.,

 869 F.2d 589 (3d Cir. 1989).

        78.     “‘The fundamental requisite of due process of law is the opportunity to be

 heard.’” Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950) (emphasis added)

 (quoting Grannis v. Ordean, 234 U.S. 385, 394 (1914)); see also In re Board of Directors of

 Telecom Argentina, S.A., 528 F.3d 162, 170 (2d Cir. 2008) (quoting the holding of In re

 Hourani, 180 B.R. 58, 67 (Bankr. S.D.N.Y. 1995) that “access to information and an opportunity

 to be heard in a meaningful manner,” are “fundamental requisites of due process.”). The

 “hearing must be at a meaningful time and in a meaningful manner,” and in circumstances where

 important rights may be terminated due process requires “an effective opportunity to defend by

 confronting any adverse witnesses and by presenting… arguments and evidence orally.”

 Goldberg v. Kelly, 397 U.S. 254, 267-68 (1970) (internal quotations omitted). Foreign

 proceedings do not comport with due process where there is “no systematic framework by which




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 information may be obtained, used, or considered in any meaningful way during the proceeding.”

 In re Hourani, 180 B.R. at 67.

          79.   Under Brazilian law, avoidance actions cannot be brought in reorganization

 proceedings and must be brought by civil revocation actions in separate proceedings. Brazilian

 law provides for no discovery in connection with such actions, nor any opportunity to present

 any evidence to the court. Further, because debtors are required to file a reorganization plan

 within 60 days of the publication of notice of court acceptance of the proceedings, parties in

 interest are rarely able to obtain an order on avoidance actions prior to the confirmation of a

 reorganization plan which extinguishes those actions. Moreover, insolvency proceedings in

 Brazil ordinarily involve no scheduled public hearings, and all interactions with the judges are ex

 parte.

          80.   The lack of discovery and presentation of evidence procedures (which are

 fundamental to the U.S. bankruptcy regime) from the Brazilian bankruptcy process is

 inconsistent with both procedural and substantive fairness for U.S. parties, including holders of

 Notes. Thus, the Court should deny recognition, as manifestly contrary to U.S. public policy.

 See In re Hourani, 180 B.R. at 66, 70 (denying section 304 petition where Jordanian law lacked

 fundamental procedural and substantive safeguards for creditors); see also Int’l Transactions,

 347 F.3d at 594-96 (refusing to enforce Mexican judgment because relief was afforded on an ex

 parte basis); In re Remington Rand Corp. v. Bus. Sys. Inc., 830 F.2d 1260, 1266 (3d Cir. 1987)

 (refusing to extend comity to Dutch court’s sale order because the U.S. company did not have

 notice or an opportunity to be heard).

          81.   On top of the lack of due process protections in Brazilian law and procedure, the

 particular facts surrounding the OAS Group and its stature in Brazil make it highly questionable




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 that the Noteholders can receive a fair hearing in Brazil. Upon information (including news

 reports) and belief, certain current and former managers of the OAS Group have deep

 connections with high-ranking members of the Brazilian federal government and judiciary, and

 there is a likelihood that that certain of those members of government have a personal stake in

 seeing the OAS Group cleared of participating in fraudulent activities. Accordingly, it would

 come as no surprise if the Brazilian courts followed suit without fairly considering Noteholder

 arguments, especially given that there is no documentation of any ex parte meetings with judges

 in Brazil.

 III.    OAS Investments and OAS Finance BVI Have No COMI or Establishment in
         Brazil.

         82.    The Court should not grant recognition under section 1517 of the Bankruptcy

 Code because the Petitioner has not demonstrated the existence of a foreign main proceeding

 with respect to OAS Investments and OAS Finance BVI. Section 1517(b)(1) provides that a

 foreign proceeding will be recognized “as a foreign main proceeding if it is pending in the

 country where the debtor has the center of its main interests.” The burden is on the foreign

 debtor to prove in which jurisdiction lies its center of main interests. In re Tri-Continental

 Exch., Ltd., 349 B.R. 627, 635 (Bankr. E.D. Cal. 2006); see also In re Bear Stearns High-Grade

 Structured Credit Strategies Master Fund, Ltd., 374 B.R. 122, 126 (Bankr. S.D.N.Y. 2007)

 (court “must make an independent determination as to whether the foreign proceeding meets the

 definitional requirements of section 1502 and 1517 of the Bankruptcy Code”); Basis Yield, 381

 B.R. at 51 (same).

         83.    Section 1516(c) of the Bankruptcy Code provides that in the “absence of evidence

 to the contrary, the debtor’s registered office . . . is presumed to be the center of the debtor’s

 main interests.” Accordingly, the presumptive COMI of OAS Finance BVI and OAS



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 Investments are the locations of their incorporation: the British Virgin Islands and Austria,

 respectively. Although the Debtors may rebut this presumption by submitting evidence to the

 contrary, they have not done so here.

        84.     The Second Circuit, in Morning Mist Holdings Ltd. v. Krys (In re Fairfield Sentry

 Ltd.), 714 F.3d 127, 137 (2d Cir. 2013), emphasized that a debtor’s COMI should be

 “ascertainable by third parties.” Id. at 138. Further, the Second Circuit endorsed several factors

 as relevant to a COMI analysis, including “the location of the debtor’s headquarters; the location

 of those who actually manage the debtor (which, conceivably could be the headquarters of a

 holding company); the location of the debtor’s primary assets; the location of the majority of the

 debtor’s creditors or of a majority of the creditors who would be affected by the case; and/or the

 jurisdiction whose law would apply to most disputes.” Id. at 137. The Second Circuit expressly

 rejected the idea that the Debtor’s “nerve center,” i.e. “where a corporation’s officers direct,

 control, and coordinate the corporation’s activities” is controlling on the COMI analysis, but

 rather found that the “nerve center” is just another factor to be considered. Id. at 138 n.10.

 According to the Second Circuit, “COMI should be determined … at or around the time the

 Chapter 15 petition is filed.” Id. at 137.

        85.     The COMIs of the Non-Brazilian Debtors ascertainable to third parties are in

 Austria and BVI. As special purpose entities whose only function was to act as a vehicle for the

 issuance and payment of the Notes, the Non-Brazilian Debtors held themselves out to investors

 as remote from the Brazilian entities, and their incorporation in other countries was intended to

 assure investors of this remoteness.

        86.     With respect to OAS Investments:

                       It was incorporated in Austria, and its only office is in Austria, and it
                        never had an address in Brazil;



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               


                      Austrian law contemplates that at least one director must reside in Austria,
                       and if that ceases to be the case, parties in interest are entitled to demand
                       the appointment of a temporary director from an Austrian court. See
                       Austria’s Limited Liability Company Act at §§ 5, 15a (attached to Rose
                       Decl. as Exhibit 21).

               

                      Its only known asset other than cash in the United States is a
                       US$909,448,958.33 intercompany receivable from OAS Investments BVI,
                       a BVI company. It has no assets in Brazil (see RJ Creditor List at last
                       page);

                                                                            Austrian public records
                       show that he is still a director, and thus third parties would ascertain that
                       decisions are made, at least in part, in Austria, see Rose Decl. at Exhibit
                       6;

                      Its principal creditors are holders of Notes issued pursuant to New York
                       law in part by U.S. underwriters to creditors around the world;

                      It has vendors in Austria, and not in Brazil (see Tavares Declaration at ¶
                       10);

                      New York law, not Brazil law, would apply to most of its disputes,
                       because the Notes are governed by New York law and most of its creditors
                       are Noteholders;13 and

               




 13
      The offering memoranda for the Notes contain sections entitled “Enforcement of Civil Liabilities” which
      contain disclaimers relating to disputes with the Non-Brazilian Debtors, explaining that Austrian courts
      may apply Austrian law, and that Austrian and BVI courts may not enforce U.S. judgments. See 8.00%
      Senior Notes Offering Memorandum at vi-viii; 8.25% Senior Notes Offering Memorandum at v-vii; 8.875%
      Perpetual Notes Offering Memorandum at vi-viii. With respect to the Non-Brazilian Debtors (as opposed
      to the Brazilian Guarantors), however there is no mention of Brazilian law potentially applying to disputes
      with the Non-Brazilian Debtors.



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        With respect to OAS Finance BVI:

                         It was incorporated in BVI, and its only office is in BVI, and it never had
                          an address in Brazil;

                 


                 

                         Is only known asset other than cash in the United States is a
                          US$943,089,583.33 intercompany receivable from OAS Investments BVI,
                          a BVI company. It has no assets in Brazil (see RJ Creditor List at last
                          page);

                 


                         Its principal creditors are holders of Notes issued pursuant to New York
                          law in part by U.S. and European underwriters, which creditors are mostly
                          outside of Brazil (i.e. in the U.S. and Europe);

                         It has vendors in Austria, and not in Brazil (see Tavares Declaration at ¶
                          10);

                         New York law, not Brazil law, would apply to most of its disputes,
                          because the Notes are governed by New York law and most of its creditors
                          are Noteholders; and

                 




        87.      Where the decisions for the Non-Brazilian Debtors were made does not control

 the analysis, as the other factors considered relevant by the Second Circuit weigh in favor of a

 finding that the COMI of the Non-Brazilian Debtors is outside of Brazil.14 This is especially true


 14
        The Debtors’ citation of the District Court decision in In re Bear Stearns High Grade Structured Credit
        Strategies Master Fund, Ltd., 389 B.R. 325, 336 (S.D.N.Y. 2008) is inapposite. See Verified Petition at ¶
        58. There, the purported debtors were master funds registered in the Cayman Islands as “exempted” LLCs,
        which allowed them to trade in the Cayman Islands provided that they seek to further business outside of
        the Cayman Islands and do not compete with local businesses. See id. at 328. Consistent with their
        registration, the funds conducted all of their business and held all of their assets in New York, see id. at


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 here, where based on the Offering Memoranda and other public records, the only ascertainable

 COMI for those entities is Austrian and BVI, respectively.

        88.      The fact that the directors of the Non-Brazilian Debtors reside in Brazil should

 not tip the scales in favor of Brazilian COMI, especially given that the other factors weigh so

 heavily against COMI in Brazil, and the Non-Brazilian Debtors are not part of an integrated

 business operation with the other members of the OAS Group.

        89.      Finally, the order of the Eastern Caribbean Supreme Court issued on the day after

 the Purported Foreign Representative filed the Recognition Petition (the “Petition Date”) vested

 all control of OAS Finance BVI with the JPLs. Thus, to the extent the “nerve center” of OAS

 Finance BVI was in Brazil as of the Petition Date (which it was not), that “nerve center” changed

 through a lawful process just one day later. See In re Suntech Power Holdings Co., 520 B.R.

 399, 417-420 (Bankr. S.D.N.Y. 2014) (finding COMI shifted based on lawful commencement of

 liquidation proceeding and appointment of joint provisional liquidators in Cayman Islands).

 Because this occurred prior to the hearing on recognition, and the Court may assess COMI “at or

 around the time the Chapter 15 petition is filed,” the Court should find that the COMI of OAS

 Finance BVI is in BVI.

        90.      Moreover, the Non-Brazilian Debtors do not have “establishments” in Brazil

 within the meaning of section 1502, and thus their Brazilian Bankruptcy Proceedings cannot be

 recognized as foreign nonmain proceedings. 11 U.S.C. § 1517(b)(2). Section 1502(2) defines an

 “establishment” as “any place of operations where the debtor carries out a nontransitory

        337, which is unlike the Non-Brazilian Debtors’ connection to Brazil. Critically, the District Court found
        that “no evidence has been offered to suggest that any creditor or investor (aside from the other Bear
        Stearns entities) of the funds knew or had reason to know of their Cayman Islands incorporation or any
        location of the funds other than the New York offices of Bear Stearns Asset Management.” Id. at 338.
        Here, the Non-Brazilian Debtors’ creditors are the Noteholders, and their Offering Memoranda clearly
        highlight those debtors’ place of incorporation. Thus, investors clearly had reason to know and rely on
        Austria and BVI as the places of incorporation.



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 economic activity.” 11 U.S.C. § 1502(2). Courts considering whether a debtor has an

 “establishment” should consider “the economic impact of the debtor’s operations on the market,

 the maintenance of a ‘minimum level of organization’ for a period of time, and the objective

 appearance to creditors whether the debtor has a local presence.” In re Millennium Global

 Emerging Credit Master Fund Ltd., 458 B.R. 63, 85 (Bankr. S.D.N.Y. 2011) (quoting Miguel

 Virgos & Etienne Schmit, Report on the Convention on Insolvency Proceedings ¶ 71).

        91.     Here, the Non-Brazilian Debtors have no local place of business in Brazil, have

 no economic impact on the market in Brazil, and have no ascertainable local operational

 presence in Brazil. They have no offices,              , or vendors in Brazil.

                                                                                            As

 discussed above, based on offering memoranda and other public records, the appearance to

 creditors is that the Non-Brazilian Debtors have no ties to Brazil other than the fact that two of

 their directors live there. The simple fact that the directors are located in Brazil, however, is not

 enough for a finding of an “establishment.” Cf. In re Kemsley, 489 B.R. 346, 362 (Bankr.

 S.D.N.Y. 2013) (debtor’s employment arrangement in the United Kingdom did not give him an

 establishment there); Lavie v. Ran (In re Ran), 607 F.3d 1017, 1028 (5th Cir. 2010) (debtor’s

 bankruptcy proceeding and corresponding debts in Israel could not be equated with nontransitory

 economic activity in the country).

        92.     Accordingly, the Court should deny recognition of the Brazilian Bankruptcy

 Proceedings of the Non-Brazilian Entities as failing to meet the definitions of both foreign main

 and foreign nonmain proceedings.




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 IV.    The Court Should Deny Discretionary Relief and Condition Any Recognition Order
        on Creditor Protections.

        93.     The Debtors, to avoid discovery, have agreed not to pursue the discretionary relief

 requested under section 1521(a)(4) and (5) and under 1520(a)(3) requested in the Verified

 Petition, but may continue to request discretionary relief. For example, as set forth above, the

 Debtors cannot show that Brazilian Bankruptcy Proceedings for OAS Finance BVI (for which

 the JPLs have sole authority to act) or OAS Investments are “foreign main proceedings,” and

 thus those proceedings may, at most, be recognized as “foreign nonmain proceedings,” for which

 there is no automatic relief. Thus, the Debtors included in the Verified Petition an alternative

 request for the discretionary imposition of the automatic stay pursuant to sections 1521(a)(1) and

 (2) upon recognition of those proceeding as “nonmain.” See Verified Petition at 33 n.18.

 Moreover, pursuant to section 1520(a)(3), upon recognition, “unless the court orders otherwise,

 the foreign representative may operate the debtor’s business and may exercise the rights and

 powers of a trustee under and to the extent provided by sections 363 and 552.” 11 U.S.C. §

 1520(a)(3). Thus, unlike the other powers automatically granted under section 1520(a) upon

 recognition of a foreign main proceeding, the Court has discretion to condition or deny

 1520(a)(3) relief.

        94.     As discussed above, the Debtors have engaged in a pattern of fraudulent activity

 leading to the filing of these Chapter 15 Cases. The Purported Foreign Representative is an

 appointee of the Debtors and, as general counsel of Investimentos and OAS Infraestrutura, was

 involved in, or at least aware of, the covert, fraudulent Christmas Transfers. In light of this, to

 the extent the Court decided to grant recognition of the Brazilian Bankruptcy Proceedings for

 some or all of the Debtors (which it should not), the Court should exercise its discretion to deny

 section 1521 relief upon the recognition of any of the Debtors’ proceedings as nonmain, and



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 section 1520(a)(3) relief upon the recognition of any of the Debtors’ proceedings as main. Also,

 pursuant to section 1522(b) of the Bankruptcy Code, the Court should condition any section

 1520(a)(3) relief on the giving of security or the filing of an large bond.

        95.     At the very least, any order granting recognition should contain provisions

 expressly tolling any applicable deadlines pursuant to section 108(c) of the Bankruptcy Code,

 and assure that assets, books, records, and other documents remain in the U.S. under this Court’s

 jurisdiction, and prevent the Debtors from wasting assets or destroying documents.




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                                             CONCLUSION

            For the reasons set forth above, Alden and Aurelius respectfully request that the Court

 deny the order for recognition and grant the Motion and such other and further relief as is just

 and appropriate.


 Dated: May 15, 2015
        New York, New York


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